Appellate Case: 24-6037     Document: 010111100089       Date Filed: 08/26/2024    Page: 1
                                                                                  FILED
                                                                      United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                         Tenth Circuit

                              FOR THE TENTH CIRCUIT                          August 26, 2024
                          _________________________________
                                                                          Christopher M. Wolpert
                                                                              Clerk of Court
  UNITED STATES OF AMERICA,

        Plaintiff - Appellee,

  v.                                                          No. 24-6037
                                                     (D.C. No. 5:22-CR-00239-JD-1)
  AMBROCIO ARROYO,                                            (W.D. Okla.)

        Defendant - Appellant.
                       _________________________________

                              ORDER AND JUDGMENT *
                          _________________________________

 Before CARSON, BRISCOE, and FEDERICO, Circuit Judges.
                    _________________________________

       The government has filed a motion to enforce the appeal waiver in Ambrocio

 Arroyo’s plea agreement under United States v. Hahn, 359 F.3d 1315 (10th Cir.

 2004) (en banc) (per curiam). Exercising jurisdiction under 28 U.S.C. § 1291, we

 grant the motion and dismiss the appeal.

                                      Background

       Mr. Arroyo pled guilty to possession of fentanyl with intent to distribute. The

 district court accepted his plea and sentenced him to 200 months in prison, followed




       *
          This order and judgment is not binding precedent, except under the doctrines
 of law of the case, res judicata, and collateral estoppel. It may be cited, however, for
 its persuasive value consistent with Fed. R. App. P. 32.1 and 10th Cir. R. 32.1.
Appellate Case: 24-6037    Document: 010111100089       Date Filed: 08/26/2024      Page: 2



 by five years of supervised release. Mr. Arroyo seeks to appeal his sentence, even

 though the plea agreement included a broad waiver of his appellate rights.

       The government moved to enforce the appeal waiver under Hahn.

 Mr. Arroyo’s counsel filed a response, which (1) “agree[d] that the record is clear as

 to Mr. Arroyo’s understanding of his plea and the appeal waiver, based on the

 documents themselves and the change of plea colloquy”; but (2) advised the court

 that counsel and her client “have differing views on the scope of the appeal waiver.”

 Counseled Resp. at 2. Citing this conflict, counsel asked the court to allow

 Mr. Arroyo to file a pro se response and stated that she would withdraw to allow that

 pro se response. Id. We construe that response as an Anders brief and a motion for

 leave to withdraw. See Anders v. California, 386 U.S. 738, 744 (1967) (defense

 counsel may “request permission to withdraw” when counsel conscientiously

 examines a case and determines that an appeal would be “wholly frivolous”).

       Consistent with the procedure outlined in Anders, the court allowed

 Mr. Arroyo to file a pro se response to show why the appeal waiver should not be

 enforced. His response states that he signed a plea agreement because his previous

 attorney advised him that his advisory sentencing guidelines range was 87 to 108

 months; however, his actual sentence was “nearly double” that because the court

 applied sentencing enhancements and overruled his objections to them. Pro Se Resp.

 at 1. He makes two arguments: (1) the district court abused its discretion when it

 overruled his objections to the sentencing enhancements, “thereby resulting in a



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 sentence that was outside of the advisory guidelines that defendant agreed to plea[d]

 guilty to”; and (2) his “defense counsel was potentially ineffective.” Id. at 2.

                                        Discussion

       Hahn lists three factors to consider in evaluating an appeal waiver:

 “(1) whether the disputed appeal falls within the scope of the waiver of appellate

 rights; (2) whether the defendant knowingly and voluntarily waived his appellate

 rights; and (3) whether enforcing the waiver would result in a miscarriage of justice.”

 Hahn, 359 F.3d at 1325. Relevant here, a defendant can demonstrate a miscarriage of

 justice by showing that he received ineffective assistance of counsel in connection

 with the negotiation of the waiver, rendering the waiver invalid, or by showing that

 the waiver is “otherwise unlawful,” id. at 1327. For a waiver to be “otherwise

 unlawful,” the district court must have made an error that seriously affected the

 fairness, integrity, or public reputation of judicial proceedings. Id.
       All three factors support upholding the appeal waiver in this case. First,

 Mr. Arroyo’s appeal is within the scope of his appeal waiver. Mr. Arroyo asks this

 court to “allow him to appeal his sentence.” Pro Se Resp. at 2. But he expressly

 waived “the right to appeal [his] sentence . . . and the manner in which the sentence

 [was] determined, including its procedural reasonableness.” Mot. to Enforce,

 Attach. 1 at 8. His right to appeal the substantive reasonableness of his sentence

 was excluded from the waiver if it was “above the advisory Guidelines range

 determined by the Court to apply to Defendant’s case.” Id. (emphasis added). But



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 that is not the case. The court determined the applicable advisory guidelines range

 was 168 to 210 months, and his 200-month sentence was within that range.

       Second, Mr. Arroyo has not satisfied his burden of showing that he did not

 knowingly and voluntarily enter into his plea agreement. See Hahn, 359 F.3d

 at 1329. It is clear from both the plea agreement and the lengthy Rule 11 colloquy

 that his plea waiver was knowing and voluntary. To the extent he is trying to dispute

 this factor through his argument that he expected his advisory guidelines range to be

 lower, we are not persuaded. As the Supreme Court has explained, “the law

 ordinarily considers a waiver knowing, intelligent, and sufficiently aware if the

 defendant fully understands the nature of the right and how it would likely apply in

 general in the circumstances—even though the defendant may not know the specific

 detailed consequences of invoking it.” United States v. Ruiz, 536 U.S. 622, 629

 (2002).

       Moreover, Mr. Arroyo acknowledged in his plea agreement that although the

 parties would request certain downward adjustments to his sentence, he

 “underst[ood] that the Court is not bound by, nor obligated to accept, these

 stipulations, agreements, or recommendations of the United States or Defendant.”

 Mot. to Enforce, Attach. 1 at 7. He also said he “under[stood] that the Court has

 jurisdiction and authority to impose any sentence within the [ten-year] statutory

 maximum for the offense(s) to which” he pled guilty. Id. at 8. Similarly, at the

 change of plea hearing on November 30, 2022, Mr. Arroyo expressed his

 understanding that the sentencing judge could impose a sentence that “may

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 be different from any estimate that [his counsel] may have given to [him].” Id.,

 Attach. 3 at 7-8. He also expressed his understanding that the sentencing judge did

 not yet have the presentence report so, “as a practical matter, [he had] no way of

 knowing with any certainty what the consequences of [his] plea [would] be.” Id. at 8.

 Under these circumstances, Mr. Arroyo has not shown that his waiver was not

 knowing and voluntary.

       Last, we assess whether the waiver would result in a miscarriage of justice.

 Mr. Arroyo appears to argue that enforcing the appeal waiver against him would be a

 miscarriage of justice because his defense counsel may have been ineffective. See

 Pro Se Resp. at 2 (“The fact that the Government is now seeking to enforce an appeal

 waiver knowing that Mr. Arroyo’s defense counsel was potentially ineffective is not

 justice.”). But he does not argue that he received ineffective assistance of counsel in

 connection with the negotiation of the waiver, as required. See Hahn, 359 F.3d

 at 1327. Besides, “a defendant must generally raise claims of ineffective assistance

 of counsel in a collateral proceeding, not on direct review.” United States v. Porter,

 405 F.3d 1136, 1144 (10th Cir. 2005). The court’s holding in Hahn did “not disturb

 this longstanding rule.” Hahn, 359 F.3d at 1327 n.13. When a defendant “offers no

 argument supporting a reason to depart from our general practice,” as is the case

 here, we have declined to consider ineffective-assistance claims on direct appeal.

 Porter, 405 F.3d at 1144. Consistent with his plea agreement, Mr. Arroyo can bring

 a claim for ineffective assistance through a collateral proceeding.



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       Mr. Arroyo also argues that the sentencing court abused its discretion when

 it overruled his objections to certain sentencing enhancements. An argument

 about the sentencing court’s application of enhancements does not satisfy the

 miscarriage-of-justice exception, which looks to whether “the waiver is otherwise

 unlawful, not to whether another aspect of the proceeding may have involved legal

 error.” United States v. Smith, 500 F.3d 1206, 1212-13 (10th Cir. 2007) (citation and

 internal quotation marks omitted). “To allow alleged errors in computing a

 defendant’s sentence to render a waiver unlawful would nullify the waiver based on

 the very sort of claim it was intended to waive.” Id. at 1213.

                                      Conclusion

       We grant the government’s motion to enforce the appeal waiver and dismiss

 this appeal. We also grant defense counsel’s motion to withdraw.



                                            Entered for the Court


                                            Per Curiam




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